      Case 1:21-cv-03217-CJN Document 15-16 Filed 04/22/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

MARK MEADOWS,                      )
                                   )
            Plaintiff,             )
                                   )
     v.                            )    Case No. 1:21-cv-3271-CJN
                                   )
NANCY PELOSI, et al.               )
                                   )
                                   )




                              Exhibit O
                                             Case 1:21-cv-03217-CJN Document 15-16 Filed 04/22/22 Page 2 of 2



  BEGBATES     ENDBATES     All Custodians     MasterDate           Chat Name       Chat Message Type      Chat Direction              From                 To                         Extracted Text
                                                                                                                                                                      Mark, just checking in as time continues to count
                                                                                                                                                                      down. 11 days to 1/6 and 25 days to
MM014099     MM014099     Mark Meadows        12/26/2020 19:24 '+17176485679     Message                Incoming            '+17176485679             '+18282002544   inauguration. We gotta get going!

                                                                                                                                                                      Mark, you should call Jeff. I just got off the
                                                                                                                                                                      phone with him and he explained to me why the
                                                                                                                                                                      principal deputy won't work especially with the
                                                                                                                                                                      FBI. They will view it as as not having the
MM014100     MM014100     Mark Meadows        12/26/2020 19:55 '+17176485679     Message                Incoming            '+17176485679             '+18282002544   authority to enforce what needs to be done.
                                                                                                                                                                      I got it. I think I understand. Let me work on the
MM014101     MM014101     Mark Meadows        12/26/2020 20:04   '+17176485679   Message                Outgoing            nccongressman@gmail.com   '+17176485679   deputy position
MM014102     MM014102     Mark Meadows        12/26/2020 20:05   '+17176485679   Message                Incoming            '+17176485679             '+18282002544   Roger. Just sent you something on Signal
MM014103     MM014103     Mark Meadows        12/26/2020 21:00   '+17176485679   Message                Incoming            '+17176485679             '+18282002544   Just sent you an updated file
MM014178     MM014178     Mark Meadows        12/28/2020 11:23   '+17176485679   Message                Incoming            '+17176485679             '+18282002544   Did you call Jeff Clark?
